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 1   PHILLIP A. TALBERT
     United States Attorney
 2   MICHELLE RODRIGUEZ
     Assistant United States Attorney
 3   501 I Street, Suite 10-100
     Sacramento, CA 95814
 4   (916) 554-2700
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 8                              IN THE UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           )
             Plaintiff,                                  )   CR NO. 16-147-MCE
12                                                       )   CR NO. 17-035-MCE
        v.                                               )
13                                                       )
     SHELLBY L. MOORE,                                   )
14           Defendant.                                  )
                                                         )
15                                                       )
     UNITED STATES OF AMERICA,                           )
16           Plaintiff,                                  )   CR NO. 17-040-db
                                                         )
17      v.                                               )
                                                         )
18   SHELLBY L. MOORE,                                   )
             Defendant.                                  )   MOTION TO RELATE CASES
19                                                       )   AND ORDER
20
             Under Local Rule 123(a), the United States notifies this Court of the filing of a related case
21
     and the United States further moves that the case be related. The United States further moves that
22
     this Court place the matter denoted as Cr 17-040 on the calendar of Hon. Morrison C. England on
23
     3/16/17 for arraignment and entry of plea.
24
             On 7/6/16, a complaint (Cr No 16-129) was filed against defendant Moore and co-defendant
25
     Lichnock-Gembe. ECF 1. Lichnock-Gembe was thereafter ordered detained. On 7/21/16, defendant
26
     Moore was released on her own recognizance and pretrial conditions, including periodic drug testing.
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28
     Motion to Relate Cases and Order                                                                    1
29
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 1   See ECF 9. On 8/4/16, a grand jury indictment, Cr 16-147, was returned against Moore and

 2   Lichnock-Gembe. ECF 22. The matter was assigned to Hon. Morrison C. England. On 11/30/16, a

 3   pretrial services violation petition was filed for, among other things, Moore’s use of a controlled

 4   substance (methamphetamine) while on supervised release. ECF 47. On 12/1/16, Moore was

 5   remanded into federal custody. ECF 48. On 2/23/17, a single count information, Cr 17-035, was

 6   additionally filed against Moore. On 3/2/17, Moore appeared for change of plea in anticipation of

 7   resolution of both Cr 16-147 and Cr 17-035. ECF 61. On 3/2/17, Moore confessed under oath and

 8   during the change of plea colloquy that she had used methamphetamine the previous day (3/1/17)

 9   while in federal custody. The proceedings were thereafter continued to 3/16/17.

10          On 3/8/17, the United States filed an information, Cr 17-040, charging Moore with 3/1/17

11   possession of methamphetamine, a Schedule II controlled substance (Class A Misdemeanor).

12                                                  II

13          Following Local Rule 123(a), subsections (1), (3) and (4), the United States, with the

14   stipulation and agreement of Moore (by and through her counsel, AFD Noa Oren), hereby moves that

15   the latest case, namely the information charging possession of a controlled substance in Cr. 17-040 be

16   related to the former actions against Moore in Cr 16-147 and Cr 17-035, thereby bringing all matters

17   before Judge England. The United States, also with the consent of Moore, further moves that this

18   Court place the latest matter on calendar for arraignment and entry of plea on 3/16/17. At the

19   conclusion of the 3/16/17 hearing -- assuming Moore successfully enters change of plea pursuant to

20   plea agreement in Cr 16-147 and Cr 17-035, and enters a guilty plea pursuant to plea agreement in the

21   latest matter Cr 17-040 -- the parties will be thereafter jointly request the Court refer all matters to the

22   U.S. Probation Office for a presentence report.

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25   ///

26   ///

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28
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 1          The United States submits, in accordance with EDCA local rules, that relating the latter

 2   matter, Cr 17-040, with the earlier matters, Cr 16-147 and Cr 17-035, would be efficient for district

 3   court personnel, counsel, and the U.S. Probation Office.

 4                                                PHILLIP A. TALBERT
                                                  United States Attorney
 5
                                                  /s/ Michelle Rodriguez (3/8/17)
 6                                                MICHELLE RODRIGUEZ
                                                  Assistant United States Attorney
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     Motion to Relate Cases and Order                                                                   3
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 8                              IN THE UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                           )
12           Plaintiff,                                  )   CR NO. 16-147-MCE
                                                         )   CR NO. 17-035-MCE
13      v.                                               )
                                                         )
14   SHELLBY L. MOORE,                                   )
             Defendant.                                  )
15                                                       )
                                                         )
16   UNITED STATES OF AMERICA,                           )
             Plaintiff,                                  )   CR NO. 17-040-db
17                                                       )
        v.                                               )
18                                                       )
     SHELLBY L. MOORE,                                   )
19           Defendant.                                  )
                                                         )   ORDER
20

21

22           Examination of the above-captioned matters, to wit, (1) case number CR. 17-040 against
23   Moore, and (2) CR. 16-147-MCE and 17-035-MCE also against Moore, reveals that the actions are
24   related within the meaning of Local Rule 123(a). Since the latter action, Cr 17-0040, arises from an
25   offense alleged while in custody pending resolution of the earlier matters and, in light of the
26   stipulation of the parties, under Local Rule 123(a), it shall be related to the earlier actions. The Court
27   additionally finds that the assignment of the matters to the same judge is likely to effect a substantial
28
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29
               Case 2:16-cr-00147-DAD Document 64 Filed 03/10/17 Page 5 of 5




 1   savings of judicial effort and is also likely to be convenient for the parties. The parties should be

 2   aware that relating the cases under Local Rule 123(a) merely has the result that the actions are

 3   assigned to the same judge. No consolidation of the actions is effected.

 4          IT IS THEREFORE ORDERED that the actions are assigned and related to U.S. District

 5   Court Judge England for all further proceedings. Henceforth, the caption on documents filed in the

 6   cases shall show the initials "MCE".

 7          IT IS FURTHER ORDERED that the clerk of the Court make appropriate adjustment in the

 8   assignment of criminal cases to compensate for this reassignment.

 9          IT IS FURTHER ORDERED that the clerk of the Court place Cr 17-040 on the CALENDAR

10   of the Judge England on 3/16/17.

11          IT IS SO ORDERED.

12   Dated: March 10, 2017

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     Motion to Relate Cases and Order                                                                        5
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